 

Case 5:04-cv-01388-NAM-ATB Document 117 Filed 02/16/10 Pag@q=_d.ofd
U.S. DISTRICT COURT - NO. OF NY.

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT FE3 1° 2010
NORTHERN -DISTRICTOF _NEW YORK Lege
Lawrence K. Baernan, Clerk - Swacuse
SONIA DOTSON JUDGMENT IN A CIVIL CASE
Vv.
CITY OF SYRACUSE; THE CITY OF Case Number: 5:04-CV-1388 (NAM/ATB)

SYRACUSE POLICE DEPARTMENT,
TIMOTHY GAY; and MARK McCARDLE!

X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
rendered its verdict.

C2 Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
a decision has been rendered.

IT IS ORDERED AND ADJUDGED

that the jury finds that defendants unlawfully retaliated against plaintiff for engaging in a protected activity, and she
sustained injuries that were proximately caused by the unlawful retaliation, in violation of Title VII and Human
Rights Law. Plaintiff is awarded a total of $450,000.00 in compensatory damages broken down as follows:

City of Syracuse: $175,000.00

Timothy Gay: $125,000.00
Mark McArdle: $150,000.00

February 16, 2010 Lawrence K. Baerman
Date Clerk

(By) Deputy Clerk tet A fei

 

'Defendant’s name is misspelled in the Caption. The correct spelling is McArdle.
